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                       Exhibit A
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                                  Hamilton Superior Court 3                                      Clerk
                                                                              Hamilton County, Indiana
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                                   Hamilton Superior Court 3                                     Clerk
                                                                              Hamilton County, Indiana
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